                                       Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 1 of 6

   JS44 (Rev. 10/20)                                                                 CIVIL COVER SHEET
   The JS 44 civil cover sheet and the information contained herein neitherreplace nor supplement the filing and service of pleadings or other papers as required by law, except as
   provided by local rules ofcourt. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of theClerk of Court for the
   purpose of initiating the civil docket sheet. (SEE !NSTRL/C71ONS ON NEXT PAGE OF TN/S FORM.)
   I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
                  Virginia Ferrari                                                                                       Chester Valley Golf Club, A Nonprofit Corp


            (b) County of Residence of First Listed Plaintiff                Camden NJ                                   County of Residence of First Listed Defendant               Cheste.f.A                            —


                                        ‘EXCEPTIN US. PLAINTIFF cASES,t                                                                        N US. PLAINTIFF (‘ASES ONLY)
                                                                                                                         NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                   THE TRACT OF LAND INVOLVED.
            (c)   Attorneys (Firm Name. Address, and Telephone Numberi                                                   Attorneys (‘If Known)

                  Michael A. Ferrara, Jr. The Ferrara Law Firm

                  601 Longwood Ave.Cherry Hill, NJ 08002 856-779-9500


  II. BASIS OF JURISDICfION1’p/acean                                 “X’inOneBoxOnly)                       III. CITIZENSHIP OF PRINCIPAL PARTIES (place                                 an “X’inOneBoxforPlaintff
                                                                                                                    (For Diversity Cases Only)                                   and One &xforDefrndani)
        I     U.S. Goemment                   El3      Federal Question                                                                      PTF       DEF                                         PTF    DEF
                 Plaintiff                               (US. Government Nag a Parry)                         Citizen of This State         fl I       j I      Incorporated or Principal Place    fl 4   [] 4
                                                                                                                                                                  of Business In This State

        2     U.S. Government                 [J4     Diversity                                               CitizenofAnotherState        [] 2       [3   2    IncorporatedandPrincipalPlace              [3 5          [35
                 Defendant                              (Indicate Citizenship of Parties in Item I/I)                                                             of Business In Another State

                                                                                                              Citizen or Subject ofa       [3 3       [3 3      Foreign Nation                             [3 6          [36
                                                                                                                Foreign_Country
             NATURE OF SUIT (P/ocean “X”rnOneBoxOnly)                                                                                            Click here for: Nature of Suit Code DescriDtiops.
                                                                                                                                                      .



    110 Insurance                            PERSONAL INJURY                      PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158                   375 False Claims Act
    120 Marine                            9 310 Airplane                      [3 365 Personal Injury                 ofProperty2l USC 881             423 Withdrawal
                                                                                                        .
                                                                                                                                                                                          ,J 376 Qui Tam (31 USC
    130 Miller Act                        J 315 Airplane Product                      Product Liability          690 Other                                28 USC 157                3729(a))
                                                                                                                                                                                          —

    (40 Negotiable Instrument                    Liability                    [3 367 Health Csre/                                                                              400 State Reapportionment
[ 150 Recovery of Overpayment             3 320 Assault, Libel &                     Pharmaceutical                                                                            410 Antitrust
                                                                                                                                                                                          —

        & Enforcement of Judgment                Slander                             Personal Injury                                           J 820 Copyrights                430 Banks and Banking
                                                                                                                                                                                          —




E   151 Medicare Act
    152 Recovery of Defaulted
        Student Loans
                                          3 330 Federal Employers’
                                                 Liability
                                          9 340 Marine
                                                                                     Product Liability
                                                                             [3 368 Asbestos Personal
                                                                                      Injury Product
                                                                                                                                                 J
                                                                                                                                                 J
                                                                                                                                                  830 Patent
                                                                                                                                                  835 Parent Abbreviated
                                                                                                                                                                    -



                                                                                                                                                      New Drug Application
                                                                                                                                                                               450 Commerce
                                                                                                                                                                                          —


                                                                                                                                                                               460 Deportation
                                                                                                                                                                                          —


                                                                                                                                                                              470 Racketeer Influenced and
                                                                                                                                                                                          —


        (Excludes Veterans)               J 345 Marine Product                        Liability                                                9 840 Trademark                     Corrupt Organizations
[3 (53 Recovery of Overpayment                   Liability                     PERSONAL PROPERTY                                                 880 Defend Trade Secrets                 :
                                                                                                                                                                               480 Consumer Credit
    .   of Veteran’s Benefits             3 350 Motor Vehicle                    370 Other Fraud                 710 Fair Labor Standards             Act of2016                   (15 USC (681 or 1692)
LI 160 Stockholders’ Suits                J 355 Motor Vehicle                   371 Truth in Lending                  Act                                                  :i 485 Telephone Consumer
[] 190 Other Contract                           Product Liability            [3 380 Other Personal             3 720 Labor/Management                                              Protection Act
                                          J
H  195 Contract Product Liability
   196 Franchise
                                            360 Other Personal
                                                Injury
                                          3 362 Personal Injury’
                                                                                     Property Damage
                                                                             [3 385 Property Damage
                                                                                    Product Liability
                                                                                                                      Relations
                                                                                                              3740 Railway Labor Act
                                                                                                               J75 I Family and Medical
                                                                                                                                                 861 HIA ( 1395ff)
                                                                                                                                                 —


                                                                                                                                                 862 Black Lung (923)
                                                                                                                                                 —


                                                                                                                                                 863 DIWC/DIWW (405(g))
                                                                                                                                                 —
                                                                                                                                                                           3 490 Cable/Sat TV
                                                                                                                                                                                          J
                                                                                                                                                                              850 Securities/Commodities/
                                                                                                                                                                                   Exchange
                                                Medical Malpractice                                                   Leave Act
                                                                                                              379 Other Labor Litigation
                                                                                                                                                 864 SSID Title XVI                       3
                                                                                                                                                                              890 Other Statutory Actions

   210 Land Condemnation
                             .    .




                                              440 Other Civil Rights            Habeas Corpus:
                                                                                                                                                  J
                                                                                                                                                 865 RSI(405(g))                          3
                                                                                                                                                                              891 Agricultural Acts
                                                                                                              :1791 Employee Retirement                                                   3
                                                                                                                                                                              893 Environmental Matters
   220 Foreclosure                            441 Voting                     3  463 Alien Detainee                   Income Security Act                                   J 895 Freedom of Information
   230 Rent Lease & Ejectment
   240 Torts to Land
                                              442 Employment
                                              443 Housing/
                                                                             ,J 510 Motions to Vacate                                          ‘Taxes (U.S. Plaintiff              Act
                                                                                    Sentence                                                          or Defendant)                     9
                                                                                                                                                                              896 Arbitration
   245 Tort Product Liability                     Accommodations             3  530 General                                                       ]
                                                                                                                                                 871 IRS—Third Party                    J
                                                                                                                                                                              899 Administrative Procedure
[3290 All Other Real Property             }   445 Amer. w/Disabilities   -   9  535 Death Penalty                                                     26 USC 7609                 Act/Review or Appeal of
                                                  Employment                    Other:                          462 Naturalization Application                                    Agency Decision
                                         3    446 Amer. w/Disabilities’      3  540 Mandamus & Other            465 Other Immigration                                                   3
                                                                                                                                                                              950 Constitutionality of
                                                  Other                      9 550 Civil Rights                      Actions                                                      State Statutes
                                         3    448 Education                  9 555 Prison Condition
                                                                             9 560 Civil Detainee
                                                                                   Conditions of
                                                                                   Confinement
V. ORIGIN                (Place an “X” in One Box Only)
   I        Original             [32 Removed from                    3   Remanded from                       Reinstated or         5 Transferred from
            Proceeding               State Court
                                                                Li       Appellate Court
                                                                                                        [4   Reopened
                                                                                                                              [3     Another District
                                                                                                                                                               El       6 Multidistrict
                                                                                                                                                                          Litigation.
                                                                                                                                                                                                     8 Multidistrict
                                                                                                                                                                                                        Litigation   -



                                                                                                                             (spec,5’)                                    Transfer                      Direct File
                                              ICite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless dive,iry):
                                              {8 U. S.C.1332(a).
VI. CAUSE OF ACTION Brief description of cause:
                                              Defective Golf course design causes golf cart to overturn
VII. REQUESTED IN                             El     CHECK IF THIS IS A CLASS ACTION                           DEMAND S                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv.P.                                  450,000                                     JURY DEMAND:         lYes      LJNo
VIII. RELATED CASE(S)
                    as’s                           (See Instructions):
             IF                                                              JUDO
                  “                                                                                                                                             NUMBER____________________
                                                                               SI NATUREOFAT1’ORNE              0    ECORD
11/1/2021
FOR OFFiCE USE ONLY

  RECEIPT                             AMOUNT                                        APPLYING IFP
                                                                                                                                   C
                                                                                                                                   JUDGE                                   MAG. JUDGE
                                  Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 2 of 6
                                                                         UNITED STATES DISTRICT COURT

                                                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                                                                   DESIGNATION FORM

                          (to be used by counsel or pro se plaintiffto indicate the category ofthe casefor the purpose ofassignment to the appropriate calendar)

 Address of Plaintiff:               Virginia Ferrari, 25 Copley Ciricle, West Berlin, NJ 08091
 Address of Defendant:
                            Chester Valley Golf Club, 430 Swedesboro Road, Malvern, PA 19355
 Place of Accident, Incident or Transaction:
                                                        Chester Valley Golf Club, 4/27/2021

 RELATED CASE, IFANY

 Case Number:                                                            Judge:                                                          Date   Terminated:

 Civil    cases are      deemed related when Yes is     answered to any of the following questions:

 1.     Is this case related to property included in an
        previously terminated action in this court?
                                                                earlier numbered suit pending           or   within one year                 Yes
                                                                                                                                                   []               No
                                                                                                                                                                         []
 2.     Does this case involve the same issue of fact or grow out of the same transaction
        pending or within one year previously terminated action in this court?
                                                                                                                  as a prior suit            Yes
                                                                                                                                                   []               No
                                                                                                                                                                         []
 3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
        numbered case pending or within one year previously terminated action of this court?
                                                                                                                                             Yes
                                                                                                                                                   E]               No
                                                                                                                                                                         [i?]
 4.     Is this case a second or successive habeas corpus, social security appeal, or pro se                       civil rights              Yes                    No
        case filed by the same individual?

 I certify that, to my knowledge, the within           case   C]    is   /         not r ated to an case now pending or within one year previously terminated action                      in
 this court except as noted above.

 DATE:        11/01/2021                                                                     Must sign   here                                                  16035
                                                                                  Atto ey-at-Law /Pro Se Plaintiff                                      Attorney LD. #   (f applicable)

 CIVIL:       (Place a   q in one category only)
A.              Federal Question Cases:                                                            B.        Diversity Jurisdiction Cases:

D       1.      Indemnity Contract, Marine         Contract, and All     Other Contracts          C          1.     Insurance Contract and Other Contracts
D       2.      FELA                                                                              C          2.     Airplane Personal Injury
C       3.      Jones Act-Personal Injury                                                         C          3.     Assault, Defamation
C       4.      Antitrust                                                                         C          4.     Marine Personal Injury
        5.                                                                                        C          5.
HC      6.
        7.
                Patent
                Labor-Management Relations
                Civil Rights
                                                                                                  E
                                                                                                  C
                                                                                                             6.
                                                                                                             7.
                                                                                                                    Motor Vehicle Personal Injury
                                                                                                                    Other Personal Injury (Please specify):
                                                                                                                    Products Liability
                                                                                                                                                                  defective course desgin


C       8.      Habeas Corpus                                                                     C          8.     Products Liability   —   Asbestos
        9.      Securities Act(s) Cases                                                           C          9.     All other Diversity Cases
HC      10.
        11.
                Social Security Review Cases
                All other Federal Question Cases
                                                                                                                    (Please specify):

                lease spec5.’):



                                                                                   ARBITRATION CERTIFICATION

                                                       (The effect of this cert/Ication is to remove the case from eligibility for arbitration.)

             Michael A. Ferrara, Jr.                           ,   counsel of record or pro se plaintifl do hereby certify:

               Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the besLlf my knowledge and be1ief the damages recoverable in this civil action case
               exceed the sum of $150,000.00 exclusive of interest

               Relief other    than   monetary damages is sought.




DATE:        11/01/2021                                                                                                                                        16035
                                                                                  Attorney-at-Law / Pro Se Plaint,                                      Attorney LD. # (f applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
            Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 3 of 6




                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYVANIA

THE FERRARA LAW FIRM, LLC
Attorneys for Plaintiff
Michael A. Ferrara, Jr., Esquire (PA Bar #16035)
601 Longwood Avenue
Cherry Hill, NJ 08002
P: (856)779-9500
F: (856)282-4287
www.ferraralawfirm.com


Virginia Ferrari                                    Civil Action No:
25 Copley Circle
West Berlin, NJ 08091

               Plaintiff,

V.


Chester Valley Golf Club, a Nonprofit
Corporation
430 Swedesford Road
Malvern, PA 19355

               Defendant.


                                         COMPLAINT

       Virginia Ferrari submits this complaint regarding a personal injury cause of action against

the defendant Chester Valley Golf Club and in support thereof avers the following:

                                           PARTIES

       1. Virginia Ferrari is an individual adult residing at 25 Copley Circle, West

Berlin, NJ 08091.

       2.   Defendant Chester Valley Golf Club is a nonprofit corporation with its principal

place of business at 430 Swedesford Road, Malvern, PA 19355.




                                                1
           Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 4 of 6




                                   JURiSDICTION AND VENUE

        1. Virginia Ferrari who now, and at the time of the incident, maintains her domicile at

25 Copley Circle, West Berlin, NJ 08091.

        2. Virginia Ferrari was on the premises in Malvern, (Chester County) Pennsylvania at

the time of the incident.

        3. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a) in that there is diversity of citizenship between the Plaintiff and the Defendant.
       4. Virginia Ferrari resides in West Berlin, New Jersey, the defendant is located in

Malvern, Pennsylvania.

       5. The amount in controversy exceeds $75,000.

       6. Venue is properly laid in the Eastern District of Pennsylvania, pursuant to 28 U.S.C.

§ l332(c)(2),   since the Eastern District of Pennsylvania is the district in which the Defendant is

located and where the incident took place.




                                                   2
           Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 5 of 6




                                          BACKGROUND


        7. On April 27, 2021 Virginia Ferrari was playing in a golf tournament hosted by the

Chester Valley Golf Club. As she drove her cart on fairway #13, her golf cart suddenly

overturned. There were no warning signs of the danger. The course was designed in such a

negligent fashion that this incident was foreseeable. She sustained a complete anterior cruciate

ligament tear, a closed fracture of her left tibial, a rupture of anterior cruciate ligament of her left

knee, and a derangement of the posterior horn of medial meniscus of her left knee, as well as

permanent scarring.

                                             COUNT I
                                           NEGLIGENCE

        8. The preceding paragraphs are incorporated by reference.

        9. Defendant Chester Valley Golf Club is the owner and operator of the golf course

where Virginia Ferrari was injured.

        10. The design and ongoing maintenance of the golf course was done in a negligent

manner that resulted in Virginia Ferrari’s golf cart overturning.

        11. There was no posted signage warning of the danger that Virginia Ferrari encountered.

Defendant’s failure to worn of the danger is negligent.

       12. Defendant’s negligence was a proximate cause of Virginia Ferrari’s damages.

       WHEREFORE, Virginia Ferrari demands judgment against defendants Chester Valley

Golf Club for compensatory damages, interest and costs of suit.




                                                   3
         Case 2:21-cv-04841-CFK Document 1 Filed 11/03/21 Page 6 of 6




                         DEMAND FOR TRIAL BY JURY

      PLEASE TAKE NOTICE that plaintiff deman

                                                                           LLC

                                        BY:
                                                ichae1 A. Ferrara, Jr., Esquire
                                                   Bar #16035)
                                               The Ferrara Law Firm
                                              601 Longwood Avenue at State Highway 38
                                              Cherry Hill, NJ 08002
                                              Telephone: 856.779.9500
                                              Facsimile: 856.282.4287
                                              mferrara@ferraralawfirm.com
                                              Attorneys for Plaintiffs
Date: November 2, 2021




                                       4
